Case: 1:21-mc-00022-MWM-KLL Doc #: 4 Filed: 09/10/21 Page: 1 of 1 PAGEID #: 119




                                               S?v",^»0
                                               2";;;
                                               Transaction Date: 09/10/2021
                                               Payer Name: NORGAN VERKAHP LLC
                                               niSCELLANEOUS PAPERS
                                                For: MORGAN VERKAHP LLC


                                              paper check conversion
                                               Remitter: MORGAN VERKAHP LLC
                                               Check/Money Order Num: 4221
                                               Amt Tendered;   $49.00

                                             ToUl
                                             Total Tendered: $49,00
                                             Change Amt;     $0.00


                                             ror insufficient funds, or°r reversed
                                                                           denied

                                              ® to a chargeback, $53,
